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UNITED STATES DISTRICT COURT                                 CIVIL CONFERENCE
EASTERN DISTRICT OF NEW YORK                                 MINUTE ENTRY

BEFORE: ANNE Y. SHIELDS                                      DATE: 7/15/24
U.S. MAGISTRATE JUDGE                                        TIME: 11:00 AM
                                                             FTR:11:37-11:59


CASE: CV-24-1669 (NJC) (AYS) Kosowski v. Nassau County et al

 TYPE OF CONFERENCE: INITIAL

APPEARANCES:          Plaintiff: Cory Morris

                      Defendant: Ralph Reissman




THE FOLLOWING RULINGS WERE MADE:

Conference held.
                                               SO ORDERED

                                               /s/ Anne Y. Shields
                                               ANNE Y. SHIELDS
